 Information to identify the case:

 Debtor 1:
                       William John Berman                                              Social Security number or ITIN:    xxx−xx−0314
                                                                                        EIN: _ _−_ _ _ _ _ _ _
                       First Name   Middle Name    Last Name

 Debtor 2:                                                                              Social Security number or ITIN: _ _ _ _
                       First Name   Middle Name    Last Name
 (Spouse, if filing)                                                                    EIN: _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court:        District of Oregon                              Date case filed for chapter:          11      1/28/19

            19−60230−tmb11
 Case number:

Official Form 309E (For Individuals or Joint Debtors)
Notice of Chapter 11 Bankruptcy Case                                                                                                                   12/15

For the debtors listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors and debtors, including information about the
meeting of creditors and deadlines. Read all pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a deficiency, repossess
property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who
violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days
or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 11 plan may result in a discharge of debt. Creditors who assert that the debtors are not entitled to a discharge of any debts or
who want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within the deadlines
specified in this notice. (See line 10 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.

                                                  About Debtor 1:                                           About Debtor 2:
 1. Debtor's full name                            William John Berman

 2. All other names used in the
    last 8 years

 3. Address                                       4490 Silverton Rd. NE
                                                  Salem, OR 97305

                                                  NICHOLAS J HENDERSON
                                                  Motschenbacher & Blattner, LLP
 4. Debtor's attorney                             117 SW Taylor Street                                    Contact phone 503−417−0500
       Name and address
                                                  Ste 300
                                                  Portland, OR 97204

 5. Bankruptcy clerk's office
       Documents in this case may be filed                                                                Office Hours 9:00 a.m. − 4:30 p.m.
       at this address.                           405 E 8th Ave #2600
       You may inspect all records filed in       Eugene, OR 97401                                        Contact phone 541−431−4000
       this case at this office or online at
       www.pacer.gov.

                                                                                                    For more information, see pages 2 & 3 >




Official Form 309E (For Individuals or Joint Debtors)                     Notice of Chapter 11 Bankruptcy Case                                        page 1



                                           Case 19-60230-pcm11                   Doc 6        Filed 01/29/19
Debtor William John Berman                                                                                                Case number 19−60230−tmb11

 6. Meeting of creditors                    March 5, 2019 at 10:30 AM
     Debtors must attend the meeting to
     be questioned under oath. In a joint   The meeting may be continued or adjourned to a later           Location:
     case, both spouses must attend.        date. If so, the date will be on the court docket. Photo ID is U.S. Trustee's Office, Room 1900,                  405
     Creditors may attend, but are not      required. Debtors must also provide proof of reported
     required to do so. Photo ID is         social security numbers (for example, social security card; E 8th Ave, Eugene, OR 97401
     required.                              medical insurance card; pay stub; W−2 form; IRS form
                                            1099; or Social Security Admin.report).

 7. Deadlines                      File by the deadline to object to discharge or to challenge                           First date set for hearing on
     The bankruptcy clerk's        whether certain debts are dischargeable:                                              confirmation of plan. The court will
     office must receive these                                                                                           send you a notice of that date later.
     documents and any
     required filing fee by the    You must file a complaint:                                                            Filing deadline for
     following deadlines.                                                                                                dischargeability complaints:
                                            • ifany
                                                 you assert that the debtor is not entitled to receive a discharge of
                                                    debts under 11 U.S.C. § 1141(d)(3) or
                                                                                                                         5/6/19

                                            • § you
                                              if     want to have a debt excepted from discharge under 11 U.S.C.
                                                  523(a)(2), (4), or (6).


                                   Deadline for filing proof of claim:                                                   4/8/19
                                   A proof of claim is a signed statement describing a creditor's claim. A proof of
                                   claim form may be completed and filed at https://www.orb.uscourts.gov or any
                                   bankruptcy clerk's office. Please file proof of claim electronically at
                                   https://www.orb.uscourts.gov. No password or login required.

                                   Your claim will be allowed in the amount scheduled unless:

                                            • your claim is designated as disputed, contingent, or unliquidated;
                                            • you file a proof of claim in a different amount; or
                                            • you receive another notice.
                                   If your claim is not scheduled or if your claim is designated as disputed,
                                   contingent, or unliquidated, you must file a proof of claim or you might not be
                                   paid on your claim and you might be unable to vote on a plan. You may file a
                                   proof of claim even if your claim is scheduled. Please file the claim
                                   electronically at https://www.orb.uscourts.gov. No login or password is
                                   needed.

                                   You may review the schedules at the bankruptcy clerk's office or online at
                                   www.pacer.gov.

                                   Secured creditors retain rights in their collateral regardless of whether they file
                                   a proof of claim. Filing a proof of claim submits a creditor to the jurisdiction of
                                   the bankruptcy court, with consequences a lawyer can explain. For example, a
                                   secured creditor who files a proof of claim may surrender important
                                   nonmonetary rights, including the right to a jury trial.


                                   Deadline to object to exemptions:                                                     Filing Deadline:
                                   The law permits debtors to keep certain property as exempt. If you believe that 30 days after the conclusion of the
                                   the law does not authorize an exemption claimed, you may file an objection.     meeting of creditors

                                             If you are a creditor receiving mailed notice at a foreign address, you may file a motion asking the court to
 8. Creditors
    address
              with a foreign                 extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                             any questions about your rights in this case.

                                             Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                             court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
 9. Filing a Chapter 11
    bankruptcy case
                                             and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                             hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a trustee
                                             is serving, the debtor will remain in possession of the property and may continue to operate the debtor's
                                             business.

                                            Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of a debt.
                                            See 11 U.S.C. § 1141(d). However, unless the court orders otherwise, the debts will not be discharged until
                                            all payments under the plan are made. A discharge means that creditors may never try to collect the debt
                                            from the debtors personally except as provided in the plan. If you believe that a particular debt owed to you
 10. Discharge of debts                     should be excepted from the discharge under 11 U.S.C. § 523 (a)(2), (4), or (6), you must file a complaint
                                            and pay the filing fee in the bankruptcy clerk's office by the deadline. If you believe that the debtors are not
                                            entitled to a discharge of any of their debts under 11 U.S.C. § 1141 (d)(3), you must file a complaint and pay
                                            the filing fee in the clerk's office by the first date set for the hearing on confirmation of the plan. The court will
                                            send you another notice telling you of that date.




Official Form 309E (For Individuals or Joint Debtors)                     Notice of Chapter 11 Bankruptcy Case                                               page 2




                                        Case 19-60230-pcm11                        Doc 6         Filed 01/29/19
Debtor William John Berman                                                                                Case number 19−60230−tmb11


11.    Exempt property                          The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                not be sold and distributed to creditors, even if the case is converted to chapter 7.
                                                Debtors must file a list of property claimed as exempt. You may inspect that list at the
                                                bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law does
                                                not authorize an exemption that the debtors claim, you may file an objection. The
                                                bankruptcy clerk's office must receive the objection by the deadline to object to
                                                exemptions in line 7.
12.    Court Information and Legal              Court information is available at https://www.orb.uscourts.gov. For account numbers,
       Advice                                   etc. contact the debtor's attorney. Contact your own attorney with other questions and
                                                to protect your rights. The clerk's office staff is forbidden by law from giving legal
                                                advice.
Official Form 309E (For Individuals or Joint Debtors) Notice of Chapter 11 Bankruptcy Case                                        page 3




                                     Case 19-60230-pcm11                    Doc 6        Filed 01/29/19
